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                                                                  Wednesday, 29 August, 2018 02:18:59 PM
                                                                             Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                   URBANA DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
      Plaintiff,                                 )
                                                 )
vs.                                              ) Case No. 16-cr-30061
                                                 )
                                                 )
AARON J. SCHOCK,                                 )
                                                 )
      Defendant.                                 )

                                   JOINT STATUS REPORT

       The parties, defendant Aaron J. Schock, by and through his counsel George J. Terwilliger

III, and the United States of America, by and through John E. Childress, United States Attorney

for the Central District of Illinois, submit this joint status report in compliance with the Court’s

August 24, 2018 Order.

       Pursuant to an existing scheduling order entered by Judge Bruce, see July 13, 2018 Order,

Docket No. 175, the parties are presently in the process of briefing pre-trial motions. The parties

had previously filed and briefed motions in August and September 2017 pursuant to an antecedent

scheduling order (also entered by Judge Bruce), but in connection with the new July 13, 2018

Order, Judge Bruce denied these motions as moot. The prior Court then set a new briefing

schedule, inviting the parties to refile prior and/or file new motions. Under this briefing schedule:

            1. August 10, 2018: All non-evidentiary motions were due.

                    o August 31, 2018 – Responses.

                    o September 7, 2018 – Replies.

            2. September 14, 2018: All evidentiary motions are due.

                    o September 28, 2018 – Responses.




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                    o October 5, 2018 – Replies.

            3. October 23 and 24, 2018: Motion Hearings (if Court determines necessary).

            4. November 2, 2018: Proposed jury instructions and voir dire.

                    o November 16, 2018 – Objections.

            5. January 14, 2018: Final pretrial conference.

            6. January 28, 2019: Trial.

       1.       Status of Pretrial Discovery

       Pursuant to earlier orders, the deadline for the government to complete its Rule 16

discovery was July 21, 2017. Mr. Schock’s deadline to provide reciprocal discovery was August

11, 2017. Pretrial discovery is therefore supposed to be concluded. Both sides recognize their

continuing duties to disclose under the rules.

               Defendant’s Position Regarding Discovery:

       In Mr. Schock’s pending Motion for Brady and Giglio Material Including Notes of Witness

Interviews, Docket No. 183, Mr. Schock is disputing the government’s compliance with its

obligations to turn over evidence and has requested additional materials from the government. Mr.

Schock has requested additional materials from the government in his Motion for Discovery of

Grand Jury Colloquies, Docket No. 189, and Motion for Disclosure of Any Reports Regarding

Misconduct in Connection with this Case, Docket No. 191.

               Government’s Position Regarding Discovery:

       The Government has surpassed its initial Rule 16 obligations and has provided all of the

Grand Jury transcripts of witness testimony as well as the vast majority of the interview reports.

Some reports will continue to be produced as they become available. The defendant has yet to




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produce any statements or reports of interview under Rule 26.2. No discovery was produced by

either party during the lengthy stay of the proceedings.

       Additional discovery should be available following the Court’s resolution of privilege

claims regarding e-mails obtained for the third-party account containing communications and

documents from the Schock campaign committees. Because of attorney-client privilege claims,

all issues surrounding these e-mails are being handled by a filter team which does not include the

AUSAs currently assigned to this matter.

       2.       Identification of Any Motions and Other Matters that are Pending for Decision, and
                the Status of Briefing on Each

       The following motions, filed by Mr. Schock, are pending for decision:

               Renewed Motion to Dismiss Counts 14-18 for Failure to State an Offense, Docket

                No. 181;

               Motion for Brady and Giglio Material Including Notes of Witness Interviews,

                Docket No. 183;

               Motion to Dismiss Indictment for Violation of Fifth Amendment Rights Before the

                Grand Jury, Docket No. 185;

               Motion to Dismiss the Indictment Due to Prejudicial Misconduct Before the Grand

                Jury, or, in the Alternative, to Bar the Use of Evidence Tainted by the Government’s

                Conduct Before the Grand Jury, Docket No. 187;

               Motion for Discovery of Grand Jury Colloquies, Docket No. 189;

               Motion for Disclosure of Any Reports Regarding Misconduct in Connection with

                this Case, Docket No. 191.

               After learning that this case would be reassigned, Mr. Schock filed a Motion for

                Change of Venue to Peoria Division, Docket No. 193, on August 20, 2018.


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        The government is in the process of responding to each of these motions.

        3.     Further Pretrial Motions (not Including Motions in Limine) that Either Side
               Anticipates Filing and When

        Mr. Schock anticipates filing a motion to suppress evidence obtained by the government’s

confidential informant and evidence protected by the Speech or Debate Clause. Mr. Schock

previously filed a version of this motion in August 2017, and now intends to re-file it. Mr. Schock

anticipates filing this motion on September 14, 2018, the deadline set by Judge Bruce for all

evidentiary motions, unless modified by order of this Court.

        The government anticipates filing a substantive motion, albeit in the form of an “in limine”

motion to address the court’s previous rulings regarding the “Rulemaking Clause,” see Docket No.

153, to clarify the evidence to be allowed to prove the elements of the crimes charged. Along with

the ruling on the defendant’s Motion to Dismiss Counts 14-18, the rulings on these motions will

determine if the government’s case will go forward as currently charged. The government

anticipates filing this motion on or before September 14, 2018.

        4.     The Anticipated Length of Trial

        In prior conferences with Judge Bruce, the government has represented that it anticipates

a four to five week trial. The government has indicated it may call up to 100 witnesses, but

realistically anticipates between 40-50 depending on the number of stipulations the parties are able

to reach. Mr. Schock anticipates that, were he to put on a defense, it would take no more than one

week.

        5.     Other Matters that Either Party Wishes to Bring to the Court’s Attention

        Petition for Certiorari: On April 20, 2017, Mr. Schock filed a motion to dismiss the

Indictment, asserting that the charges against him violated separation of powers principles

embodied in the Rulemaking Clause and were unconstitutional under the Speech or Debate Clause.



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See Docket No. 76. The Court granted this motion in part and denied it in part on October 23,

2017. See Docket No. 153. Mr. Schock appealed this ruling to the Seventh Circuit, which affirmed

the prior Court’s order with respect to the Speech or Debate Clause and dismissed the appeal for

lack of jurisdiction with respect to the Rulemaking Clause. See United States v. Schock, 891 F.3d

334 (7th Cir. 2018). Mr. Schock intends to petition the Supreme Court of the United States for

review of the Seventh Circuit’s decision and will file his petition for certiorari on or before

September 27, 2018.

       The government’s opposition should be filed by the beginning of December, depending on

extensions requested.

       Motion Hearings: The prior Court informed the parties that it would determine whether it

was necessary to hold a hearing on any pretrial motion, and thus requesting a hearing on the merits

of the motion was not necessary. Mr. Schock generally did not request a hearing on the pretrial

motions filed on August 10, 2018 (though Mr. Schock sought an evidentiary hearing as a remedy

in one motion), in compliance with the prior Court’s statement. Mr. Schock intends to identify

those motions for which he requests a hearing in his replies to the government’s responses, unless

this Court instructs otherwise.

       The government does not anticipate requesting a hearing on any of the motions.



Dated: August 29, 2018                               Respectfully submitted,



 JOHN E. CHILDRESS                                    /s/ George J. Terwilliger III
 UNITED STATES ATTORNEY                               _____________________________
 By: /s/ Patrick D. Hansen                            George J. Terwilliger III
 _____________________________                        Robert J. Bittman
 Patrick D. Hansen, First Assistant U.S. Attorney     Benjamin L. Hatch
 United States Attorney’s Office                      Nicholas B. Lewis
 318 South 6th Street                                 MCGUIREWOODS LLP


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Springfield, Illinois 62701               2001 K Street N.W., Suite 400
Telephone: (217) 492-4450                 Washington, D.C. 20006-1040
E-mail: patrick.hansen@usdoj.gov          Tel: 202.857.2473
                                          Fax: 202.828.2965
                                          Email: gterwilliger@mcguirewoods.com


/s/ Victor B. Yanz                        /s/ Christina M. Egan
_____________________                     _____________________________
Victor B. Yanz                            Christina M. Egan
Assistant U.S. Attorney                   MCGUIREWOODS LLP
318 South Sixth Street                    77 West Wacker Drive
Springfield, Illinois 62701               Suite 4100
Telephone (217) 492-4450                  Chicago, IL 60601-1818
Victor.yanz@usdoj.gov                     Tel: 312.750.8644
                                          Fax: 312.698.4502
                                          Email: cegan@mcguirewoods.com


/s/ Eugene L. Miller                      /s/ Jeffrey B. Lang
_________________                         ___________________________
Eugene L. Miller                          Jeffrey B. Lang
Assistant U.S. Attorney                   LANE & WATERMAN LLP
201 S. Vine Street, Suite 226             220 N. Main Street, Suite 600
Urbana, IL 61802                          Davenport, Iowa 52801-1987
Telephone (217) 373-5875                  Tel: 563.333.6647
Eugene.miller@usdoj.gov                   Fax: 563.324.1616
                                          Email: jlang@L-WLaw.com

                                          Counsel for Aaron J. Schock




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing instrument was electronically filed with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to counsel

of record at their respective email addresses disclosed on the pleadings on this 29th day of August,

2018.


                                              /s/ George J. Terwilliger III
                                              _____________________
                                              George J. Terwilliger III




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